Case 2:02-CV-02321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 1 of 17 Page|D 152

z-'u£:.') af %m_ Q_r;,
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE GSJUM_E FH 5:03
wEsTERN DIvIsIoN
Poa=r>".' n w nig-.:_rg

€IERK,USVW§FCT

UNION PLANTERS BANK, N.A. , W.D. OF '11'-:. mts/wis

Plaintiff,

v. No. 02-2321 Ma
CONTINENTAL CASUALTY CO.,
NATIONAL UNION FIRE INSURANCE
CO. OF PITTSBURGH, PA., ST.
PAUL MERCURY INSURANCE CO.,
and TWIN CITY FIRE INSURANCE

\_¢V\.d\_rv\.¢`_/VV\./V\_z\_r`_¢

 

 

CO.,
Defendants.
ORDER ON POST-JUDGMENT MOTIONS
On August 25, 2004, this court entered an order granting
summary judgment to Plaintiff Union Planters Bank, N.A. (“UP”}
against Defendant Continental Casualty' Co. (“Continental”) and

granting summary judgment to the remaining Defendants National
Union Fire Insurance Company of Pittsburgh, PA. (“National Union”),
St. Paul Mercury Insurance Company (“St. Paul”), and Twin City Fire
Insurance Company (“Twin City”)(collectively “excess carriers”).
On.August 26, 2004, a judgment Was entered dismissing the case. On
September 8, 2004, UP moved 1) to alter or amend the judgment under
Fed. R. Civ. P. 59 or, alternatively, for relief under Fed. R. Civ.
P. 60 and, 2) to certify' state law issues in accordance with

Tennessee Supreme Court Rule 23. On the same day, Continental also

TN§MQuwnontmdwedonthedocm%sheansnmpH§FE$

wmi§w@§aanmbr?§w)FRCPon ' ’
-.___*"°""-‘_\I'-_¢

 

Case 2:02-CV-02321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 2 of 17 Page|D 153

moved to alter, amend, or clarify the judgment. Continental and
the excess carriers filed responses to UP’s motion on September 27,
2004, to which UP replied on October 14, 2004. UP filed a response
to Continental's motion on September 24, 2004, to which Continental
replied on October 6, 2004.

In support of its motion to alter or amend, UP noticed the
filing of several exhibits on September 9, 2004. On September 27,
2004, the excess carriers filed objections and a motion to strike
this evidence, to which UP responded on October 12, 2004. Because
UP offers this evidence for the court to consider in deciding its
motion, the court will decide the motion to strike first.

I. Excess Carriers' Motion to Strike

In support of its motion to alter or amend the judgment, UP
has filed various post-judgment exhibits, including the affidavit
of Douglas R. Miller, transcripts of oral depositions of George H.
Blume, Andrew Doherty, Stacy Parker, and David Lynders, and
interrogatory answers by Defendants National Union and Twin City.
The excess carriers argue that the introduction of this evidence
after judgment has been rendered violates Local Rule 7.2(d), which
requires evidence in support of or in response to a motion for
summary judgment to be submitted with the accompanying memoranda.
In_ particular, the excess carriers contend. that UP failed to
include evidence establishing either the amount of its loss or the

amount of professional fees and expenses incurred and that UP

Case 2:02-CV-02321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 3 of 17 Page|D 154

should now be prohibited from introducing such evidence.

lt is not accurate to characterize UP's submissions as new
evidence. Most of its exhibits consist of evidence of damages
cited previously in the record of this case. The only submissions
that could be characterized as new facts relate to the calculation
of the amount of damages and accrued interest. This issue is well
within the scope of a motion under Rule 59 when summary judgment
has already been granted to the plaintiff. Further, the court will
not penalize UP for failing to provide detailed calculations of
damages when the primary issue for summary judgment was the various
defendants’ overall liability under the insurance policies. Thus,
the court DENIES the excess carriers' motion. to strike post-
judgment evidence and OVERRULES their objections to that evidence.
II. UP’s Motion to Altsr or Amend

UP contends that the court erred in dismissing the case, that
the judgment does not dispose of its claim for pre-judgment
interest, that the judgment does not dispose of its separate claim
under the Financial Institutions Solutions Policy (“the Policy”)
for professional fees and expenses, and that the court should
reverse its judgment in favor of the excess carriers on the issue
of liability, or alternatively, certify that issue to the Tennessee
Supreme Court.

A. Dismissal of the Suit

UP claims that the court erred in entering the August 26, 2004

Case 2:02-CV-02321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 4 of 17 Page|D 155

judgment dismissing the action. The court’s order on the previous
day had in fact granted UP's motion for summary judgment against
Defendant Continental. Fed. R. Civ. P. 60(b) permits a court to
relieve a party from a final judgment arising from ndstake or
inadvertence. Because the court's order cmi August 25, 2004,
granted UP's motion for summary judgment against one defendant, the
subsequent judgment dismissing the entire action was clearly in
error, resulting from mistake or inadvertence.l Therefore, the
court GRANTS UP's motion to amend and VACATES the portion of the
judgment dismissing the action against Continental.

B. Prejudgment Interest and Policy Limits2

UP claims that it is entitled to pre*judgment interest in
excess of the limits contained in the Policy. Continental disputes
this claim and argues that UP has submitted other claims under the
Policy unrelated to the instant litigation, which have eroded the
Policy's $25 million liability limit. These arguments are
distinct: whether and to what extant UP is entitled to prejudgment
interest on judgment proceeds is a separate issue from whether the
underlying proceeds should be reduced in light of other payments

under the Policy.

 

l Continental agrees that the judgment should be amended to reflect the
prior order granting UP summary judgment against Continental. (See Continental
Resp. at 3, n. 4.)

2 The issues raised here are the same issues Continental raises in its
own motion to alter the judgment. Thus, the court will address both motions
in this section.

Case 2:02-CV-02321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 5 of 17 Page|D 156

l. Prejudgment Interest

Continental argues that the language of the Policy
specifically excludes an award of prejudgment interest and that
Tennessee law' precludes prejudgment interest that exceeds the
aggregate liability limit of a fidelity bond. A Tennessee court
may award prejudgment interest as an element of damages “as
permitted by the statutory and common laws of the state as of April
1, 1979 ... in accordance with the principles of equity.” Tenn.
Code Ann. § 47-14-123.3 “An award of prejudgment interest is
within the sound discretion of the trial court.” Myint v. Allstate
Insurance Co., 970 S.W.2d 920, 927 (Tenn. 1998)(internal citations
omitted).

The Policy defines “loss” as “loss of funds or Property owned
by Union Planters Corporation Insureds, but not loss of use of
funds or Property;...” (Policy § E.23.) Continental claims that
prejudgment interest is awarded to compensate a plaintiff for “loss
of use” of the judgment proceeds and that the Policy, therefore,
precludes its assessment in this case. The purpose of the
definition is to limit the scope of the Policy's coverage, not to
limit the court’s discretion in awarding interest after coverage
has been determined.

In Bank of Huntingdon v. Smothers, the Tennessee Court of

 

3 The court has previously held that Tennessee law applies to this

diversity action. (See Order, August 24, 2004.)

5

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 6 of 17 Page|D 157

Appeals interpreted a similar clause in a dispute over the scope of
coverage of a fidelity bond. 626 S.W.2d 267 (Tenn. Ct. App. 1981).
The policy in question excluded liability for “potential income
not realized by the insured because of a loss covered under this
bond.” ld; at 268. The court held that this clause limited a
“loss” under the policy to interest that had in fact accrued on
outstanding loans and excluded interest that would eventually be
due but had not accrued when the loss was reported.’*_ld_4 at 270-71.
This finding did not, however, preclude the court from assessing
prejudgment interest on the amount it had determined to be covered
by the policy. ld; at 271. A similar conclusion is suggested in
this case. That the policy itself does not cover potentially
profitable uses of lost funds (including interest-bearing
investments) does not preclude the court from assessing prejudgment
interest on what it deems to be covered losses.

Continental also argues that Tenn. Code Ann. § 25-1-102, as
construed by the Tennessee Supreme Court, precludes the assessment
of prejudgment interest in excess of the Policy’s aggregate
coverage limit. That provision reads as follows:

Stipulated.Penalties; bonds (officers and fiduciaries) or
agreements

 

4 The court cited a hypothetical situation in which the insured bank

received a $2,000 note payable in one year, in exchange for a $1,800 loan to a
borrower. If six months had passed since the note was issued, the court would
assess the bank’s loss at $1,900, although the bank eventually would have
received $2,000. The court would then assess interest on the $l,900 from the

date of the claim until the date of the judgment. Id. at 270-71.

6

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 7 of 17 Page|D 158

In actions brought on bonds or agreements for the payment

of money, or with.collateral conditions, and recovery had

by the plaintiff, the judgment shall be entered for the

stipulated penalty, to be discharged by the payment of

principal and the interest due thereon, or the damages

assessed by the jury, and execution shall issue

accordingly.
In 1928, the Tennessee Supreme Court stated that “[u]nder this
section of the Code, the judgment upon a bond with collateral
conditions cannot exceed the stipulated penalty. The sureties are
only bound to this extent, and interest is allowed only after
judgment and upon the judgment.” People's Bank & Trust Co. v.
United States Fidelitv & Guaranty Co., 517 S.W.Zd 163, 164 (Tenn.
1928). A fidelity bond, such as those at issue in this case, was
explicitly held to be “a bond with collateral conditions,” and the
claimant was barred from receiving prejudgment interest. ;d; This
ruling has been further applied to bar prejudgment interest on a
liability insurance claim. See Tennessee Farmers Mutual Insurance
Co. v. Cherry, 374 S.W.Zd 371, 372 (Tenn. 1964)(distinguishing
general liability insurance policies from life, fire, and accident
insurance policies, which would bear interest from the time they
became due).

Although more recent decisions cast doubt on this line of
cases, it has never been explicitly overruled. The Tennessee Court
of Appeals has assessed prejudgment interest on facts very similar

to those in this case, but neither party to that decision raised

the present issue of the scope and application of the decisions

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 8 of 17 Page|D 159

interpreting Tenn. Code Ann. § 25~1-102. See Bank of Huntingdon,
626 S.W.Zd at 271. Additionally, the fidelity bond here is similar
to the general liability and fidelity policies that have been
specifically held not to bear prejudgment interest, as opposed to
“single-occurrence” policies that become due at a discrete point in
time and have been held to bear interest from that date.5 §e§
Tennessee Farmers Mutual Insurance Co., 374 S.W.Zd at 372; Genescol
Inc. v. Libertv Mutual Insurance Co., 235 F. Supp. 363, 365 (M.D.
Tenn. 1964)(recognizing this distinction).

Given the court’s discretion in this area and because the
applicable Tennessee authority suggests that prejudgment interest
is not allowed, the court will not award prejudgment interest on
the Policy proceeds.

2. The Policy's Coverage Limit

The aggregate limit for coverage of the instant claims under
the Policy is $25 million. (Policy Declarations, Item 6 (Coverage
Schedule)}. UP claims that it sustained a loss of $24,983,371
covered by Section E.I.B(a) of the Policy and incurred expenses in
determining this loss of $199,688.76, covered under Section E.7 of

the Policy. Continental does not appear to dispute these

 

5 The Tennessee authority cited by UP deals with these kinds of single-

occurrence policies. §§e Myint, 970 S.W.2d 920 (Tenn. 1998)(homeowners'
insurance, fire loss); Stooksburv v. American National Propertv and Casualty
gg;, 126 S.W.3d 505 (Tenn. Ct. App. 2003)(homeowners' insurance, fire loss);
Farmers Mutual of Tennessee v. Athens Insurance Aqency, 2004 WL 343597 (Tenn.
Ct. App. 2004)(homeowners' insurance, fire loss).

8

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 9 of 17 Page|D 160

assertions,6 but it asserts that it has already paid $11,968,411
under the Policy for claims unrelated to this litigation.
Continental argues that, given the aggregate limit of $25 million,
any judgment awarded to UP should be reduced by that amount. UP
agrees with Continental’s claim as to the erosion of the policy
limits and the amount of that erosion. (See Resp. to Continental’s
Mot. to Alter at 1.)

Assuming its evidence of damages is adopted, UP is entitled to
a judgment of $25 million, minus the amount Continental has already
paid under the Policy.7 lt is undisputed that, as of August 31,
2004, Continental had paid $11,968,411 on UP's behalf. Continental
claimed on that date that defense costs would “continue to erode”
the policy' limit, suggesting that the current amount paid by
Continental to date is greater. {Continental Mot. to Alter l 5.)
The parties are, therefore, directed to submit, within thirty (30)
days of the entry of this order, precise calculations, along with
supporting documentation, of 1) the most current sum of payments
made under the Policy to UP or on UP’s behalf and 2) the proper
rate to be used to calculate post-judgment interest on UP's damages

award. The parties are further permitted to submit, within thirty

 

6 Continental actually disputes that it gave prior approval, as required
by the policy terms, to the $199,688.97 that UP claims as professional fees
and expenses. Because those claims are also subject to the $25 million
coverage limit, a decision about whether those claims are covered under the
Policy will not affect UP’s recovery.

7 UP's claimed losses exceed the $25 million liability ceiling.
Continental does not appear to challenge those Claims.

9

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 10 of 17 Page|D 161

(30) days, any other evidence or argument relevant to the
calculation of damages as outlined in this order.

C. Notice to the Excess Carriers

In its summary judgment order, the court decided that UP was
not entitled to recover from the excess carriers because it had
failed to comply with the notice provisions in the applicable
insurance policies. In reaching that conclusion, the court
specifically‘ held that the policies did not fit within the
recognized exception to the more general rule prohibiting recovery
where the claimant has failed to give timely notice. (See Order,
August 24, 2004, at 24.) UP requests that the court reconsider
that ruling under Fed. R. Civ. P. 59, or alternatively, certify the
issue to the Tennessee Supreme Court under Tenn. S. Ct. Rule 23, §
1. Certification is proper if “there are questions of law of this
state which will be determinative of the cause and as to which it
appears to the certifying court there is no controlling precedent
in the decisions of the Supreme Court of Tennessee.” ld*

UP argues that the court’s order mistakenly characterizes the
disputed agreements as “claims-made” insurance policies and that
the court erred in finding that glgazar_y;_§ay§§, 982 S.W.2d 845

(Tenn. 1998) does not apply to this case.8 Alcazar reversed a long

 

3 Even if a court were to decide that the Alcazar rule applied here,

there have been no findings on the issue of actual prejudice to the excess
carriers. Thus, even if the court reconsidered its prior order, it is not
apparent that a resolution by the Tennessee Supreme Court would be
“determinative of the cause.”

lO

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 11 of 17 Page|D 162

line of Tennessee cases holding that a failure to give timely
notice of an insurance claini could. bar‘ a claimant's right to
collect. The court held, instead, that a plaintiff can collect
under certain insurance agreements by proving that the insurer was
not prejudiced by the lack of notice. ld; at 856. As explained in
the court's prior order, integral to the Alcazar holding was the
finding that the insurance policy “is a contract of adhesion, i.e.,
not one which the parties have reached by mutual negotiation and
concession, not one which truly expresses any agreement at which
they have arrived, but one which has been fixed by the insurer and
to which the insured must adhere, if he chooses to have insurance.”
ld; at 851-52 (internal citations omitted).

Subsequent Tennessee decisions have recognized this factor in
Alcazar, as well as that court's invocation of the more general
policy in favor of compensating tort victims. See American Justice
Insurance Reciprocal v. Hutchison, 15 S.W.3d 811, 816 (Tenn. 2000).
Although it did not expressly invoke the absence of these factors,
the Tennessee Court of Appeals declined to extend the Algag§; rule
to claims-made insurance policies. Pope v. Leutv & Heath, PLLC, 87
S.W.3d 89, 94-95 (Tenn. Ct. App. 2002). As explained in the
summary judgment order, the Tennessee Supreme Court would likely
agree that the notice provisions in claims-made policies should be
more strictly construed against the insured than those in

occurrence-based. policies, because the former are specifically

ll

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 12 of 17 Page|D 163

negotiated. See Matador Petroleum Corn. v. St. Paul Surplus Lines
Ins. co., 174 F.3d 653, 658-59 (Sth Cir. 1999).

UP is correct that the insurance agreements in question are
not “claims-made” policies in the strict sense of third-party
liability insurance.9 They are first-person fidelity bonds, and to
the extent that the court characterized them as third-party
insurance, that characterization was incorrect. The factors that
weigh against application of the Alcazar rule to traditional
claims-made insurance, however, weigh just as heavily in this case.
The Policy states explicitly that “Coverage Part E {Bankers Blanket
Bond) applies to claims reported. during the Policy Period or
Extended Reporting Period, if applicable.” (Policy Terms &
Conditions at 12.) This language clearly indicates that the Policy
and, therefore, the excess policies apply to claims actually made
during the coverage period, not claims that arise from occurrences
during that period.

More importantly, the policies in question cannot reasonably
be characterized as contracts of adhesion. UP and the excess
carriers are large and sophisticated entities with ample

opportunity to bargain for desired contractual provisions. Unlike

 

9 The excess policies generally provide coverage according to the

underlying terms of the Policy. Section E of the Policy (Bankers Blanket
Bond) is included within the same coverage limit ($25 million) as other
sections of the Policy, which appear to constitute traditional liability
insurance. For purposes of these motions, the court accepts UP's
representation that Section E is a separate and distinct agreement from the
other sections of the Policy and that the excess policies, to the extent that
they provide coverage for claims arising under Section E, should also be
categorized as fidelity bonds.

12

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 13 of 17 Page|D 164

those in standard occurrence-based policies, the notice provisions
here are the result of “mutual negotiation and concession.”
Alcazar, 982 S.W.2d at 851. A Tennessee court would, therefore, be
unlikely to excuse UP from fulfilling an express condition that was
negotiated at arms’ length by parties of equal sophistication and
bargaining power.

The excess carriers cite authority that directly addresses the
issue of notice on fidelity bonds. That authority also weighs
against excusing UP from the notice provisions. The Tennessee
Supreme Court has expressly held that an employer's failure to
comply with the notice requirement of an employee fidelity bond
relieves the insurer from liability under that bond. King's[ Inc.
v. Marvland Casualtv Co., 88 S.W.2d 456, 458 (Tenn. 1935). That
holding has not been overruled. See World Secret Service
Association, lnc. v. Travelers Indemnitv Co., 396 S.W.Zd 848, 853-
54 (Tenn. Ct. App. 1965); Griffith7 Motors, Inc. v. Compass
Insurance Co., 676 S.W.2d. 555, 557-58 (Tenn. Ct. App. 1983).
Although these decisions precede Alcazar, as explained above, the
Alcazar rule is unlikely to be extended to the present facts.

UP has not demonstrated that the order on summary judgment was
based on a clear error of law or will result in manifest injustice.
Therefore, the court will not alter the prior judgment in favor of
the excess carriers. See GenCorp, Inc. v. Am. Int'l Underwriters,

178 F.3d 804, 834 (6th Cir. 1999). Similarly, given the applicable

13

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 14 of 17 Page|D 165

case law and the unlikelihood of expanding the £anggr rule to
these facts, it cannot be said that there is “no controlling
precedent” from the Tennessee Supreme Court on the issue at hand.
Thus, it is unnecessary to certify the issue of notice to the
Tennessee Supreme Court.
III. Continental's Motion to Alter or Amend

Continental argues that UP's judgment should be confined to
the $25 million liability limit and that UP should not receive
prejudgment interest on that award. Those arguments have been
resolved by the court's analysis of UP's motion. UP's recovery
will be no greater than $25 Hdllion, and UP will not receive
prejudgment interest on the award.
IV. Conclusion

For the foregoing reasons, the court DENIES the excess
carriers’ motion to strike post-judgment evidence and OVERRULES
their‘ objections to that evidence. The portion_ of the prior
judgment dismissing the case against Continental is VACATED; UP's
recovery will be limited to no more than $25 million less other
payments under the relevant portions of the Policy, UP will not be
awarded prejudgment interest, and both parties are instructed to
submit evidence of damages in accordance with this order. UP's
motion to alter or amend the judgment in favor of the excess
carriers, or alternatively, to certify the issue of notice to the

Tennessee Supreme Court, is DENIED.

14

Case 2:02-CV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 15 of 17 Page|D 166

So ORDERED this C'rl`day of June 2005.

__jAM/’/'L_i_

SAMUEL H. MAYS, JR.
WITED STATES DIS'I'RICT JUDGE

 

15

   

UNEITD STATES DIRCTSTI CTOUR- WETRNSE DISTRI oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 188 in
case 2:02-CV-02321 Was distributed by fax, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

Michael Keeley
STRASBURGER & PRICE, LLP
901 Main St.

Ste. 4300

Dallas, TX 75202

H. Frederick Humbracht

BOULT CUMM[NGS CONNERS & BERRY
414 Union St.

Ste. 1600

Nashville, TN 37219

Michael W. Higginbotharn

FEDEX CORPORATION- Hacks Cross
3620 Hacks Cross Rd.

Third Floor, Building B.

1\/1emphis7 TN 38125--880

.1 ohn R. Riddle

STRASBURGER & PRICE, LLP
901 Main St.

Ste. 4300

Dallas, TX 75202

Toni Scott Reed
STRASBURGER & PRICE, LLP
901 Main St.

Ste. 4300

Dallas, TX 75202

Douglas A. Black

WYATT TARRANT & CO1\/113S
P.O. Box 775000

1\/1emphis7 TN 38177--500

Case 2:02-cV-O2321-SH|\/|-tmp Document 188 Filed 06/06/05 Page 17 of 17 Page|D 168

.1 ohn M. Gillum
MANIER & HEROD

150 4th Avenue North
Ste. 2200

Nashville, TN 37219--249

.1 effrey S. Price

MANIER & HEROD

150 4th Avenue North
Ste. 2200

Nashville, TN 37219--249

Sarn H. Poteet

MANIER & HEROD

150 4th Avenue North
Ste. 2200

Nashville, TN 37219--249

.1 oseph T. Getz

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

Thornas R. Dyer

WYATT TARRANT & CO1\/113S
P.O. Box 775000

1\/1emphis7 TN 38177--500

Michael G. McLaren

BLACK MCLAREN JONES & RYLAND
530 Oak Court Dr.

Ste. 3 10

1\/1emphis7 TN 38117

Honorable Sarnuel Mays
US DISTRICT COURT

